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                    EXHIBIT G
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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
  _______________________________________________
  MICHALI TOUMAZOU, et al.                                    :
                                                              :
  Individually and on behalf of all others similarly situated :
                                                              :
         Plaintiffs,                                          :
                                                              :
                                                              :
  v.                                                          : Case No. 09-1967 (PLF)
                                                              :
                                                              :
  TURKISH REPUBLIC OF NORTHERN CYRPUS, et al. :
                                                              :
         Defendants.                                          :
                                                              :
  _______________________________________________ :	  
  	  

   PLAINTIFFS” OPPOSITION AND MEMORANDUM OF POINTS AND AUTHORITIES
     IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO
                                 DISMISS1

                               The United States Court of Appeals for the 7th Circuit, in affirming a decision where the now

  Defendant “TRNC” sought to intervene in litigation involving property from the north of Cyprus

  namely, Christian mosaics, by wrongfully claiming title to the property under its constitution,

  quoted the Siege of Corinth by Lord Byron. “As Byron’s poems laments, war can reduce our

  grandest and most sacred temples to mere “fragments of stone”. Only the lowest of scoundrels

  attempt to reap personal gain from this collective loss. Those who plundered the churches and

  monuments of a war-torn Cyprus , hoarded their relics away, and are now smuggling and selling

  them for large sums, are just such blackguards” See Autocephalous Greek Orthodox Church of
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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   	  Plaintiffs’	  counsel	  has	  experience	  more	  than	  his	  share	  of	  computer	  issues	  unrelated	  to	  the	  scanner	  but	  in	  an	  
  attempt	  to	  upload	  the	  files	  that	  are	  substantial,	  the	  files	  were	  not	  loading	  properly	  despite	  accessing	  the	  ecf	  	  filing	  
  system	  on	  the	  evening	  of	  May	  4,	  2010	  to	  file.	  Plaintiffs’	  counsel	  has	  been	  the	  victim	  of	  a	  cyber	  attack	  on	  his	  
  computer	  system	  that	  was	  thought	  to	  have	  been	  resolved.	  Plaintiff	  is	  submitting	  this	  late	  due	  to	  the	  problems	  
  uploading	  files	  and	  in	  the	  event	  the	  files	  cannot	  be	  filed	  electronically,	  what	  can	  be	  filed	  will	  and	  the	  remaining	  
  shall	  be	  presented	  to	  the	  clerk	  in	  the	  morning	  of	  May	  5,	  2010	  for	  a	  solution.	  	  Plaintiff’s	  counsel	  apologizes	  to	  the	  
  court	  and	  Defendant	  who	  will	  not	  be	  prejudiced	  unfairly	  by	  the	  additional	  hours	  needed	  to	  accomplish	  this	  filing	  
  one	  way	  or	  the	  other.	  	  	  
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  Cyprus, et al v. Goldberg, et al 917 F.2d 278 (7th Cir. 1990). The court rightfully resolved the

  title to property in favor of the Church of Cyprus.

                               According to the affidavit of the so called “TRNC” Representative in Washington DC, Himil

  Akil, the sole purpose for the “TRNC” office in the United States is to “interact with the United

  States Federal Government... gathering information on legislation and U.S. Policies that may

  impact Turkish Cypriot people and informing the U.S. Government of my Government’s

  position and opinions vis-à-vis such legislation and policies”. The credibility of the “TRNC”

  and its agents are simply tumbling while not respecting the laws of the District of Columbia or

  United States.

                               I.                                                          INTRODUCTION AND FACTS SUPPORTING PERSONAL JURISDICTION


                                                             This lawsuit brought as a result of the interference and deprivation of the rights towards property

  belonging to the Plaintiffs and the Class by the pseudo state, Defendant so called “TRNC” from at least

  1983 and continue to do so to the present (See Sec. Am. Comp. ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42,

  45-60, 64-71).


                                                             The Defendants “TRNC” and HSBC2 are actively engaged in the advertising, marketing,

  financing, encumbering, developing, leasing, renting, using or selling of property belonging to the

  plaintiffs and the Class, and restricting their return by the threat of force, in violation of law (id. Also See

  ex. 5,7 and 8). The pseudo state “TRNC” is more closely associated with an illegal criminal syndicate

  than that of a government, as it has and continues to wrongfully interfere with the rights of property

  owners and discriminate against them (Id.). The United States Government has issued warnings to

  banking institutions about dealing with the TRNC. As a matter of fact, the State Department website has

  issued warnings about the title of the property, yet HSBC knowingly assisted in interfering with the rights

  to property of hundreds of thousands of individuals, including the Plaintiffs and the Class (Id.). The

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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         	  HSBC	  refers	  to	  all	  the	  banks	  using	  the	  HSBC	  named	  in	  the	  Complaint	  or	  otherwise	  referred	  to	  therein.	  	  


  	                                                                                                                                                                                                                                                     2	  
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  pseudo state, “TRNC”, illegally governs, sells, finances, rents, leases, advertises, taxes, profits and

  markets the properties, businesses and lands belonging to the Plaintiffs’ and the Class to others, including

  third parties, under a fraudulent property scheme involving HSBC, real estate brokers and other

  companies located in the U.S and elsewhere (Id).; See Also Ex. 1 and 5).


           The so called “TRNC”, is not sovereign nation, government or diplomatic body recognized by

  the civil world nor by the executive office of the United States but acts as an unincorporated association

  committing illegal acts towards the Plaintiffs and the Class, that is not registered with the authorities of

  the District of Columbia or obtaining U.S. diplomatic status exemptions (id.). The ‘TRNC” believes it

  has duped authorities by concealing who and what it is, which includes Himil Akil, a known lobbyist and

  representative of the “Turkish Cypriot Community” as proclaimed by the U.S. Government, and not a

  representative of the “TRNC” or any it government. (See Ex.2 - Ltr. from US Dept of State- June 14,

  2007 addressed to whom it may concern). Mr. Akil, despite his audacious reference as an ambassador in

  the U.S, is nothing more than a lobbyist and representative of a “Turkish Cypriot Community” and not a

  diplomat visa or the representative of the “TRNC” or so called ‘Turkish Republic of Northern Cyprus”

  (Ex. 1 and 2). In the eyes of the U.S. Government and the courts, Mr. Akil is a lobbyist given a business

  visa to conduct his business and treated as such by the U. S Government concealed within the

  Defendant’s exhibits. (See Ex. 3 -Himil Akil Visa and passport; Also Ex. 2). The use of “TRNC” as

  anything related to a government or state, even diplomatic status does not exist in the eyes of the U.S.

  Government and therefore the courts (See Ex.2). Therefore, any acts by Mr. Akil and the “TRNC” are

  pervasive, systematic and continuous in the District of Columbia and the United States since the 1980’s

  that includes references to it as an embassy, government, “defacto” state or republic, that include seeking

  litigation in federal court in 1989, banking transactions with HSBC, website development, hiring

  employees, meeting with individuals, advertising property, Tips to buy property, how to buy property,




  	                                                     3	  
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  explaining property laws, (See Sec. Am. Comp. ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71;

  Ex. 2, Ex. 4- Affid. Izzet Zorlu3 ¶7; Also See Ex’s.,5, 7-8).


                                                             No where in any of the Defendant’s opposition does it or Mr. Akil, suggest to use the proper title

  given to it, namely, a lobbyist or the” Turkish Cypriot Community”, by the U.S. Government in any

  material, website content and development, filing court documents, literature, business cards, letterhead,

  office listing but rather “TRNC” or “Turkish Republic of Northern Cyprus” and references to

  Government operations. (Id.).


                                                             Despite the assurances of the so called “TRNC” that it resides in the District of Columbia solely

  for contacts with the U.S. Government4 (without ever providing a scintilla of proof to a request to come

  and open offices in the District of Columbia since at least the 1980’s). The so called “TRNC” has

  engaged in the following, unrelated to U.S. Government legislation towards the “Turkish Cypriot

  Community”, activities in the District of Columbia since the 1980’s:


                                                             1)                                                                            In 1989, the “TRNC” through its Washington DC office, sought to intervene in

                                                                                                                                           litigation before the USDC in Indianapolis and claim ownership of ancient mosaics




  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  3
    	  Izzet	  Zorlu	  has	  provided	  an	  affidavit	  that	  is	  not	  based	  on	  his	  personal	  knowledge	  and	  therefore	  improper	  and	  
  should	  not	  stand	  for	  the	  purposes	  provided	  for	  by	  the	  Defendant.	  	  Likewise,	  Mr.	  Himil’s	  affidavit	  is	  allegedly	  based	  
  on	  personal	  knowledge	  of	  facts	  with	  exceptions	  that	  are	  not	  discernable.	  In	  other	  words,	  it	  is	  impossible	  to	  view	  
  someone	  appointed	  to	  an	  alleged	  post	  as	  a	  representative	  of	  a	  “Turkish	  Cypriot	  Community”	  in	  2006,	  to	  have	  
  personal	  knowledge	  of	  facts	  relating	  to	  Cyprus	  for	  hundreds	  of	  years,	  let	  alone	  not.	  	  	  Clearly,	  these	  are	  Defendant’s	  
  self	  serving	  declarations	  sought	  to	  interfere	  with	  the	  administration	  of	  justice	  and	  this	  court’s	  power	  over	  it	  that	  
  necessitates	  jurisdictional	  discovery	  to	  flush	  out	  the	  facts.	  	  	  Clearly,	  the	  extent	  of	  business	  activity	  or	  contacts	  in	  
  the	  District	  of	  Columbia,	  such	  as	  congressmen,	  DC	  Government	  authority	  to	  operate	  in	  the	  District,	  banking	  
  information,	  schedules,	  appointments,	  business	  policies,	  Himil	  Akil’s	  	  bank	  account	  activity,	  including	  HSBC,	  and	  
  other	  employees	  and	  staff,	  any	  payments	  made	  on	  its	  behalf,	  the	  lease	  and	  payments	  to	  the	  landlord,	  where	  the	  
  money	  originates,	  loans	  provided	  to	  or	  obtained	  from	  the	  SBA.	  	  Also,	  who	  constructed	  its	  website	  and	  provided	  its	  
  content	  is	  jurisdictional	  in	  nature	  and	  is	  discoverable.	  	  The	  Defendant	  and	  Mr.	  Akil	  have	  the	  contents	  of	  the	  
  website	  and	  have	  refused	  to	  provide	  it	  and	  rather	  give	  us	  their	  representative	  “opinion”	  of	  the	  content.	  	  	  This	  is	  a	  
  classic	  “sandbagging”	  technique	  that	  individuals	  use	  to	  conceal	  facts	  and	  not	  for	  the	  administration	  of	  justice	  
  perhaps	  it	  is	  the	  way	  things	  are	  done	  in	  the	  “Turkish	  Cypriot	  Community”	  but	  not	  in	  the	  United	  States	  and	  certainly	  
  not	  before	  this	  court.	  	  I	  urge	  the	  court	  to	  compel	  the	  discovery	  that	  is	  material	  and	  demonstrate	  the	  contacts	  in	  
  the	  District	  sufficient	  for	  personal	  jurisdiction.	  	  	  	  	  	  	  	  	  
  4
    	  Aff.	  of	  Akil.	  	  


  	                                                                                                                                                                                                                                                     4	  
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                                                                                                                                           belonging to the Church of Cyprus, which is the same issue before this court. (See Ex.

                                                                                                                                           7 ). The court properly did not recognize it as a state or government5.

                                                             2)                                                                                 Hiring employees from abroad and sending them as representatives or staff to the

                                                                                                                                           District of Columbia , leasing office space, hiring and paying lawyers, letterhead,

                                                                                                                                           interactive website, phone, email, facsimile, maps and a DC postal address, writing

                                                                                                                                           letters to newspapers, speaking at universities , having offices other “TRNC”

                                                                                                                                           representative who are business owners, (See Ex. 1-Akil Aff.; Ex.s’ 11, 12).

                                                             3)                                                                                      Involved itself in the Small Business Administration’s “Entrepreneur” conference

                                                                                                                                           held in the Southern United States after it allegedly abandoned its website in 2005, that

                                                                                                                                           ironically was listed in SBA document in its conference material of April 2006. (See

                                                                                                                                           Ex. 9 - Entrepreneur- pp, 60 and 66 in fn. 10, 16). The trncwashdc.org website appears

                                                                                                                                           with the director of the SBA Mr. Doug Gurley, who suggests the members, that

                                                                                                                                           indicates the trncwashdc.org website/office, provided loans or funds in the amount of

                                                                                                                                           $75,000.00 to assist businesses affected by hurricane Katrina. (Id. Also see Ex. 10-

                                                                                                                                           Doug Gurley statement)

                                                             4)                                                                            Himil Akil, is a known lobbyist and representative of the “Turkish Cypriot Community

                                                                                                                                           and not the so called “TRNC” and has no diplomatic status or visa, nor is his employer

                                                                                                                                           recognized as a government or state in the United States. (See Ex.2 ) Despite this,

                                                                                                                                           Mr. Akil held himself out as an ambassador in Washington DC to at least Turkey

                                                                                                                                           without blinking an eye as to the laws of the United States and its rule of law. (See Ex.

                                                                                                                                           1 ¶ 16); also Ex. 14. .

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  5
   	  The	  “TRNC”	  	  by	  filing	  a	  counterstatement	  of	  facts	  of	  20	  pages,	  and	  other	  unrealistic	  facts	  attributing	  the	  
  recognition	  of	  the	  “TRNC”	  as	  a	  government	  or	  state	  should	  not	  be	  tolerated	  by	  this	  court	  pursuant	  to	  Article	  III	  of	  
  the	  U.	  S.	  Constitution.	  This	  court	  is	  much	  smarter	  than	  what	  the	  “TRNC”	  is	  trying	  to	  sell	  as	  if	  no	  one	  would	  notice.	  	  	  
  Therefore,	  Plaintiffs	  seek	  to	  strike	  all	  allegations	  referencing	  any	  government	  action	  on	  its	  part	  of	  others	  and	  to	  
  submit	  to	  the	  court	  its	  true	  identity	  that	  being	  an	  unincorporated	  association	  of	  the	  “Turkish	  Cypriot	  Community”	  	  
  as	  properly	  titled	  by	  the	  U.S.	  Department	  of	  State.	  	  	  Plaintiffs	  move	  this	  court	  to	  strike	  the	  content	  as	  it	  reaches	  the	  
  realm	  of	  politics	  and	  not	  appropriate	  for	  this	  court	  to	  entertain	  but	  left	  to	  the	  executive	  branch.	  	  	  Plaintiffs	  will	  file	  
  a	  separate	  motion	  to	  strike	  if	  necessary	  by	  the	  court.	  (See	  Ex.	  8).	  	  


  	                                                                                                                                                                                                                                                     5	  
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         5)     Does banking transactions with HSBC and its network of institution under its name

                that assist in marketing, sale, advertisement, financing, of properties belonging to the

                Plaintiffs and the Class. , (See Sec. Am. Comp. ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42,

                45-60, 64-71¶, maintained an operated a website with an internet address of

                www.trncwashdc.org since the 1990’s as admitted by the Defendant. (See Akil Aff. ¶

                28); also Ex.’s 5, 11 and 12).

         6)     The website material consist of more than what Mr. Akil is stating in his Affidavit and

                includes purchasing property, and other commercial acts, airline fares, cruises, banking

                transactions, tourism, laws, and the address of the Washington DC office and contact

                information. The trncwashdc.org website was interactive prior to being taken down

                and had substantial visitors (See Ex.’s 5, 16 and 18).

         7)     Monies must be transferred to and from banking institutions namely, defendant HSBC,

                with whom it conducts business transactions and maintains bank accounts, to at least

                pay the over $300,000.00 expenses run through its DC office.

         8)     Mr. Akil misrepresents the facts of a disclaimer that the “TRNC” has no control or

                authority over the website www.trncproperty.eu ”(Ex. 2 at ¶,33) Rather, the “TRNC”

                website under terms and conditions states in its disclaimer on several pages in bold

                lettering that it does belong to the “TRNC” (See Exhibit 6- Disclaimer). The

                Defendant even admits to several other websites operating without allegedly “TRNC”

                authority but fail to divulge the websites. (Id. ¶,34).

         9)     The “TRNC” is operating without a business license issued by the DC Government,

                nor has it provided any evidence of paying taxes in the District despite admitting to

                having and paying employees, having leased office space that requires a certificate of

                occupancy that is not shown in any records of the DC Government (See Ex. 14).

         10)    The TRNC has a West coast representative (who happens to be a business man and

                operating a substantial company) and a NY Representative all using the title of


  	                                               6	  
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                                             representative of the “Turkish Republic of Northern Cyprus” that does not exist as a

                                             recognized or registered entity, let alone a state or government in the District of

                                             Columbia (See Ex . 2, 11 , 14 - 16).

                                             	  

           II.                LEGAL ARGUMENT

                    Defendant has moved, pursuant to Rule 12(b)(2) and (3) of the Federal Rules of Civil

  Procedure, for an order dismissing this action for lack of personal jurisdiction or Venue6, and to

  Dismiss Plaintiff MICHALI TOUMAZOU7 for failing to provide his exact home address.

  Defendant’s argument throughout its motion is that it is present strictly to interact with the U.S.

  Government and seeks “defacto” immunity when in fact the Plaintiffs, this court and the world

  have no idea what the so called “TRNC” really is and is explained herein. What we do know is

  that “it” is not a government or state which it holds itself out to be to the unknowing public in the

  United States and has no diplomatic status or recognition whatsoever, which begs the question

  what is the so called “TRNC”.



  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  6
        	  The	  USDC	  for	  the	  District	  of	  Columbia	  is	  the	  proper	  Venue	  for	  this	  matter	  because	  one	  of	  the	  
  Defendant’s,	  HSBC,	  at	  least	  is	  properly	  present	  in	  the	  United	  States	  and	  in	  the	  District	  Columbia.	  See	  28	  
  USC.	  1391(b)	  	  	  

  	  
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   	  The	  Defendant’s	  attack	  on	  a	  requirement	  for	  the	  home	  address	  of	  MICHALI	  TOUMAZOU	  (hereinafter	  
  “TOUMAZOU”)	  is	  misplaced.	  	  TOUMAZOU	  is	  a	  professor	  at	  a	  prestigious	  university	  and	  seeks	  to	  protect	  himself	  and	  
  his	  family	  from	  the	  intrusion	  of	  what	  maybe	  threats	  towards	  him,	  which	  is	  a	  real	  fear.	  	  TOUMAZOU	  has	  asked	  not	  
  to	  expose	  his	  family	  to	  any	  animosity	  that	  may	  exist	  because	  of	  the	  nature	  of	  this	  case	  and	  the	  political	  climate.	  	  
  Believing	  the	  Local	  Rule	  allowed	  counsel	  to	  list	  the	  address	  on	  the	  caption	  TOUMAZOU	  as	  filed	  was	  sufficient	  under	  
  the	  Rule	  that	  was	  recently	  amended.	  TOUMAZOU	  lives	  and	  works	  in	  the	  town	  of	  Davidson,	  North	  Carolina	  and	  the	  
  Post	  Office	  Box	  is	  located	  at	  the	  University	  where	  he	  works	  as	  an	  internationally	  acclaimed	  Archeologist	  and	  
  professor	  in	  classics.	  	  Plaintiff	  requests	  this	  court	  to	  allow	  TOUMAZOU	  this	  small	  sanctuary.	  	  Should	  this	  court	  not	  
  agree,	  Plaintiffs	  ask	  to	  provide	  the	  actual	  home	  address	  if	  necessary,	  and	  preferably	  under	  seal.	  	  	  Despite	  the	  
  temper	  of	  Defendant’s	  argument	  regarding	  TOUMAZOU,	  he	  is	  in	  effect	  necessary	  for	  subject	  matter	  jurisdiction,	  
  which	  issue	  no	  doubt	  Defendant	  seeks	  to	  raise	  should	  this	  court	  dismiss	  TOUMAZOU.	  	  If	  the	  court	  is	  inclined	  to	  do	  
  that,	  Plaintiff	  asks	  that	  this	  court	  allow	  a	  short	  period	  to	  provide	  the	  court	  that	  information.	  	  I	  believe	  the	  intent	  of	  
  the	  Rule	  was	  to	  protect	  forum	  shopping,	  and	  the	  Plaintiff	  is	  a	  resident	  of	  Davidson,	  NC.	  


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         In it’s Motion to Dismiss, the so called “TRNC” attempts to trick this court so it may be

  viewed as it so desperately sought for over 20 years in the District of Columbia, namely a

  recognized government. The “TRNC” seeks “defacto” government status by masquerading its

  so called representatives among embassies, the UN and referring to themselves as either a

  representative and at times an ambassador, it is clear that members of the public in the District

  and elsewhere are being tricked by the intentional misrepresentations by this Defendant, when no

  such entity known as the “TRNC” or “Turkish Republic of Northern Cyprus” exist in the District

  of Columbia. Moreover, the U.S. Department of State has made it clear, that Mr. Akil is a

  lobbyist and a representative of the “Turkish Cypriot Community” and does not recognize the

  pseudo state or “TRNC” (See Ex. 1, 2 , 6 -8).


         Additionally, there is legal support to stop the Defendant from attempting to provide

  good faith gestures from the United States into being diplomatic status when it is not. Without

  giving any substance to its deceptive Motion to Dismiss, one must wonder what is the Defendant

  thinking parading itself before the court as a government when it is not, hoping the court will

  provide some recognition that it is a government over nearly 40% of the island nation of Cyprus.

  It is the Republic of Cyprus that has been the only recognized sovereign on the island except for

  Turkey. The attempt is clear, that it is trying to use court access to promote that it is a

  government or state. From its counter statement of false facts to its disregard for U.S. standards

  and laws, the “TRNC” cannot be allowed to parade itself before this court and the citizenry of

  the District of Columbia as a recognized or “defacto” government of the “TRNC” or equivalent.

  The “TRNC” is not. Courts in the U.S. admonished the “TRNC” in the past for doing just that

  when it sought to intervene and take title to mosaics belonging to the Church of Cyprus for over

  a millennium. This is the same issue here except it now knows it has no defense and chooses to



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  hide. See Autocephalous Greek Orthodox Church, et al v. Goldberg, et al, 916 F.2d 278 (7th Cir.

  1990); See also Autocephalous Greek Orthodox Church v. Goldberg,717 F. Supp. 1374 (IN.

  1989) and are attached as Exhibit 8.

          The conduct of foreign relations was committed by the Constitution to the political

  departments of the government, and the propriety of what may be done in the exercise of

  this political power [is] not subject to judicial inquiry or decision, . . . [and] who is the

  sovereign of a territory is not a judicial question, but one the determination of which by the

  political departments conclusively binds the courts. (Id .citing United States v. Belmont, 301

  U.S. 324, (1937) (citing Oetjen v. Central Leather Co., 246 U.S. 297, (1918)).           The 7th

  circuit would not allow it and neither should the learned Judge of this court. Plaintiffs ask that

  an Order issue restricting its authority to argue, reference or discuss government matters as it

  seems to be encroaching on the court’s powers and authority. The “TRNC” is strictly a foreign

  unincorporated association and nothing more and ask the court that all references regarding it

  acting in any governmental or diplomatic role or function including but not limited to titles.


         A. Establishing Personal Jurisdiction

            “To establish personal jurisdiction over a non-resident, a court must engage in a two part

  inquiry: a court must first examine whether jurisdiction is applicable under the state's long-arm

  statute and then determine whether a finding of jurisdiction satisfies the constitutional

  requirements of due process.” See GTE New Media Servs. v. BellSouth Corp., 199 F.3d 1343,

  1347 (D.C. Cir. 2000).


          The D.C. Circuit has defined the bases for long-arm jurisdiction in this District are as

  follows: “to establish specific personal jurisdiction under the District long-arm statute, [the

  plaintiff] would have to demonstrate either (1) that its claims arose from the defendant



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  transacting business in the District of Columbia . . .; or (2) that [the defendant] caused it tortious

  injury in the District by its conduct in the District . . .; or (3) that [the defendant] caused it

  tortious injury in the District by its conduct outside the District and that [the defendant]

  “regularly does or solicits business” in the District, “engages in any other persistent course of

  conduct” there, or “derives substantial revenue” from goods used or services rendered”. See

  Trintec Industries, Inc. v. Pedre Promotional Products, Inc., 395 F.3d 1275, 1280 (Fed. Cir.

  2005).

                                                Based on the facts presented herein, there is no doubt that the defendant caused violated the

  Lanham Act by making false allegations about ownership and title of property situated in the

  north of Cyprus in the District of Columbia as it related to its “official” status and to the

  title/ownership of property considered abandoned yet belonging to the Plaintiffs and the Class

  who have proper title and seek its return8.

                               B. Defendant Was Properly Served in the District of Columbia.

                                                The constitutional requirements have been held to be “co- extensive” with a D.C. general

  personal jurisdictional provision, D.C. Code § 13- 334(a), which authorizes D.C. courts to

  “exercise general jurisdiction‟ over a foreign corporation as to claims not arising from the

  corporation's conduct in the District, if the corporation is doing business in the District.” See

  AGS Int'l Servs. S.A. v. Newmont USA Ltd., 346 F. Supp.2d 64, 74 (D.D.C. 2004); quoting

  Gorman v. Ameritrade Holding Corp., 293 F.3d 506, 509 (D.C. Cir. 2002). This “doing

  business” test “is whether [the defendant‟s] contacts with the District have been so continuous


  and systematic that it could foresee being haled into court in the District of Columbia.‟ See AGS


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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   	  The	  “TRNC”	  is	  occupying	  the	  lands	  belonging	  to	  the	  Plaintiffs	  and	  the	  Class	  and	  do	  not	  let	  them	  return	  to	  their	  
  properties	  as	  indicated	  in	  the	  alleged	  constitution	  of	  the	  “TRNC”	  	  (See	  Sec.	  Am.	  Compl.	  	  	  


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  Int'l Servs. S.A. v. Newmont USA Ltd.346 F. Supp. 2d at 74.


                                                             Although on its face § 13-334(a) appears only to specify proper methods of service, the

  District of Columbia Court of Appeals has held that compliance with the statute gives rise to

  personal jurisdiction over a foreign corporation doing business in the District. See AMAF Int'l

  Corp., 428 A.2d at 850; see El-Fadl v. Central Bank of Jordan, 75 F.3d 668, 673 n.7 (D.C. Cir.

  1996).

                                                             Since the Defendant has waived any issue of personal service9 if an issue even existed,

  personal jurisdiction is established as a matter of law. Therefore, Defendant’s motion to Dismiss

  should be denied.

                               C. Claims Arise from Defendant’s Transaction of Business in D.C.

                                                Plaintiffs have alleged that monies wrongfully derived from the property belonging to the

  Plaintiffs’ and the Class are transferred by and through HSBC, in the District of Columbia. See

  The illegal gains are transferred through the HSBC banking system to and from the “TRNC” in

  whole or in part, that include the Washington DC offices of both Defendants. (See Sec. Am.

  Comp. ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71). The Defendant does not deny that

  it spends over $300,000.00 for its District operations without providing a source of income.

  Obviously a banking system is used to accommodate these transactions which the Defendant

  intentionally does not disclose but pays the bills for over 20 years in the District. (See Ex. 13-

  Accounting Report of Defendant’s DC office).

                                                The so called TRNC by and through Defendant HSBC has illegally profited to the

  detriment of the Plaintiffs from acts originating outside of the District of Columbia but include

  the District of Columbia as monies are transferred to and from bank accounts located in the

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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  District of Columbia by agreement with HSBC. (See Sec. Am. Comp. ¶¶ 2,3,8,9,10, 17-21, 31,

  34, 35, 39-42, 45-60, 64-71). The fraudulent property scheme requires financing and the

  transfer of funds that occurred through HSBC, in whole or in part, in the District of Columbia

  (id). The TRNC presence in Washington DC was not for government interaction or contact10 as

  clandestinely argued and presented but to assist in the transfer of funds illegally obtained from

  property belonging to the plaintiffs to bank accounts with HSBC that occur in whole or in part in

  Washington, DC.

                                                Additionally, the false statements on the ownership of property as stated in its published

  “constitution” giving rise to Plaintiffs’ federal claim on the interactive website

  www.trncwashdc.org, was maintained, controlled or operated by the Defendant admittedly until

  at least 2005 (See Sec. Am. Comp. ¶¶ 2,3,8,9,10, 17-21, 31, 34, 35, 39-42, 45-60, 64-71; Akil

  Affid.¶28-30, Ex. 5, 12, 17, 19-20). This interactive website included the sale of property, how

  to buy property, forms to be submitted for buying property, title of property, hiring attorneys and

  estate agents, airlines, cruises etc. The website even contained the so called laws/constitution in

  which the “TRNC” admits to interfering in the property rights of the displaced individuals

  consisting of the Plaintiffs’ and the Class. (Ex.’s 5, 19-20).

                                                However, the Defendant has taken the website down under the pretext that it is owned and

  controlled by another namely, Izzet Zorlu. At the very least, if the court does not find the

  necessary contacts, it is necessary to allow jurisdictional discovery so that the Plaintiffs can show

  the full extent of contacts and representation made on the website, along with the banking


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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    	  The	  government	  contact	  exception	  to	  personal	  jurisdiction	  is	  nothing	  more	  than	  an	  attempt	  of	  “defacto”	  
  immunity.	  	  The	  case	  cited	  by	  the	  Defendant	  relies	  upon	  a	  transient	  passing	  to	  file	  papers	  with	  an	  administrative	  
  agency	  rather	  than	  a	  over	  20	  year	  existence	  in	  District	  without	  abiding	  by	  its	  laws	  for	  doing	  business	  without	  a	  
  business	  license,	  certificate	  of	  occupancy	  nor	  paying	  DC	  taxes.	  	  As	  a	  matter	  of	  fact,	  there	  is	  nothing	  evidencing	  the	  
  “TRNC”	  with	  the	  DC	  Government	  for	  service	  or	  process	  or	  otherwise	  which	  suggest	  “doing	  business”	  illegally	  
  without	  proper	  licensing	  that	  is	  a	  misdemeanor	  crime.	  	  This	  Argument	  shall	  be	  supplemented	  (See	  Ex.	  14).	  	  


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  information relevant and indicative of its nature of business in the District of Columbia,

  including meetings, visitors, loans, payments, articles, speaking engagements and business.

         Based on the fats presented by the Plaintiff, and even the Defendant, sufficient contacts

  exist with the District of Columbia for this court to find personal jurisdiction over the Defendant

  “TRNC” having purposefully availed itself therein

  D.      Combined Internet and Non-Internet Related Contacts in the District of Columbia
  Are Sufficient to Establish Personal Jurisdiction.

          Generally, jurisdiction in cyberspace has revolved around two issues: passive web sites

  versus interactive web sites, and whether a defendant's Internet-related contacts with the forum

  combined with other non-Internet related contacts are sufficient to establish a persistent course of

  conduct.

          “If the defendant enters into contracts with residents of a foreign jurisdiction that involve

  the knowing and repeated transmission of computer files over the Internet, personal jurisdiction

  is proper. At the opposite end are situations where a defendant has simply posted information on

  an Internet Web site which is accessible to users in foreign jurisdictions. A passive Web site that

  does little more than make information available to those who are interested in it is not grounds

  for the exercise [of] personal jurisdiction. The middle ground is occupied by interactive Web

  sites where a user can exchange information with the host computer. In these cases, the court’s

  exercise of jurisdiction is determined by examining the level of interactivity and commercial

  nature of the exchange of information that occurs on the Web site”. See Zippo Mfg, Co. v. Zippo

  Dot Com. Inc., 952 F. Supp. 1119, 1124 (W. D. Pa. 1997).

          In Heroes, Inc. v. Heroes Foundation, the court found that it did not need to decide

  whether the defendant's home page by itself subjected the defendant to personal jurisdiction in



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  the District of Columbia because the defendant had substantial non-Internet related contacts with

  the District that were sufficient under the D.C. long-arm statute. The defendant’s home page

  solicited contributions and provided a toll-free number which browsers used to donate money;

  the solicitation also appeared in advertisements in the Washington Post. Judge Flannery

  concluded that these non-Internet related contacts with the District of Columbia, together with

  the maintenance of a web site constantly available to D.C. residents, constituted a persistent

  course of conduct that reasonably connected the defendant to the forum. Heroes. Inc, v. Heroes

  Foundation, 958 F. Supp. 1, 4-5 (D.D.C. 1996); see also Telco Communications v. An Apple A

  Day, 977 F. Supp. 404, 407 (E.D. Va. 1997) (posting of web site advertisement solicitation over

  the Internet, which could be accessed by Virginia residents 24 hours a day, is a persistent course

  of conduct; two or three press releases rise to the level of regularly doing or soliciting business);

  See Digital Equipment Corp. v. Altavista Technology. Inc., 960 F. Supp. at 467 (maintenance of

  web site that can be accessed by Massachusetts citizens 24 hours a day coupled with other

  contacts is persistent course of conduct sufficient to confer personal jurisdiction).

         The courts in each of these cases required only a relatively tenuous electronic connection

  between the creator of a web site and the forum to effect personal jurisdiction, so long as there

  were sufficient other non-Internet connections. Under the analysis adopted by these courts, the

  exercise of personal jurisdiction is contingent upon the web site involving more than just the

  maintenance of a home page; it must also allow browsers to interact directly with the web site on

  some level. In addition, there must also be some other non-Internet related contacts between the

  defendant and the forum state in order for the court to exercise personal jurisdiction.

         Justice Ginsburg in Crane v. Carr has described these as the "plus factors," factors that

  demonstrate some "reasonable connection" between the jurisdiction in which the court sits




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  "separate from and in addition to" the injury caused in the jurisdiction. Crane v. Carr, 814 F.2d at

  762. The "plus factor" or factors "need not be related to the act that caused the injury; all that is

  required is 'some other reasonable connection' between the defendant and the forum." Id. at 762-

  63. The "plus factor" does not itself provide the basis for jurisdiction (the injury does) "but it

  does serve to filter out cases in which the inforum impact is an isolated event and the defendant

  otherwise has no, or scant, affiliation with the forum." Id. at 763.

         The Plaintiffs have shown a "persistent course of conduct" by the “TRNC” in the District

  of Columbia or other reasonable connections between the forum and the “TRNC” besides the

  alleged website use and the alleged injury of the false statements contained therein.

  Unfortunately for the Defendant, the “TRNC” tripped over its own lies when it stated its sole

  existence in the District of Columbia was to interact with the U.S. Government. There is

  sufficient evidence showing, it engages in providing maps, meetings letters to newspapers that

  are published, Speaking at Universities, engaged in banking activities, hiring lawyers, trying to

  intervene as the rightful owners to Christian mosaics belonging to the Church of Cyprus and this

  is what can be found without discovery (See Ex.s’. 5, 11, 12, 13, 17, 19 and 20). These facts

  alone establish contacts sufficient for personal jurisdiction and due process. The concealment of

  obvious facts, left to the interpretation and control of material evidence including the website

  content that is no longer available in any manner even archived, without inspection or cross

  examination, is simply unfair and indicative of a scoundrel looking to hide through deception.

  Limited discovery on the agents and information possessed by the “TRNC” in Washington, DC

  are necessary to prove the contacts for personal jurisdiction should this court find them lacking.


         The presence for over 20 years in the District of Columbia conducting business and

  litigation albeit unsuccessful, without obtaining a business license or otherwise registering its



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  name shows a disregard for the laws of this country. The “TRNC” believes it can make its own

  rules when it sees fit despite the requirements that it conform to the laws of the District of

  Columbia due to its non government, diplomatic or “TRNC” status that it refuses to conform

  (See Ex. 2). Mr. Akil believes because Turkey recognizes the “TRNC” that is provides him the

  right in the United States to be referred to and title himself as an ambassador. Plaintiffs also note,

  and Defendant admits, that he has been in contact (via e-mail, telephone and the U.S. mail) with

  business visitors in the District of Columbia (Aff. Akil ¶¶ 16, 25, 31).


         The interactive nature of the “TRNC” website coupled with non internet contacts are

  sufficient, alone or together, to establish that Defendant engaged in a persistent course of conduct

  in the District of Columbia.


         E.      Due Process

         Traditionally, in order to exercise personal jurisdiction over an out-of-state defendant, a

  court must determine whether the defendant has sufficient minimum contacts with the

  jurisdiction in which the court sits such that maintenance of a suit does not offend "traditional

  notions of fair play and substantial justice." International Shoe Co. v. Washington, 326 U.S.

  310, 316 (1945). While in the Internet context there must be "something more" than an Internet

  advertisement alone "to indicate that the defendant purposefully (albeit electronically) directed

  his activity in a substantial way to the forum state," Cybersell. Inc. v. Cybersell. Inc., 130 F.3d at

  414, such that he should "reasonably anticipate being hated into court" there, Burger King Corp.

  v. Rudzewic , 471 U.S. 462, 474-75 (1985), that test is easily met here. See, e.g., Digital

  Equipment Corp. v. Altavista Technology, Inc., 960 F. Supp. at 469-70. Because subsection

  (a)(4) of the long-arm statute does not reach the outer limits of due process, Crane v. Car , 814




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  F.2d at 762, and the Court has concluded that there are sufficient "plus factors" to meet the

  requisites of subsection (a)(4), it follows that there are also sufficient minimum contacts to

  satisfy due process.

                                                             For over 20 years, Defendant has purposefully sent employees, leased and occupied

  office space in the District of Columbia, where it seems to be lacking a business license or

  otherwise registering its trade name because there is no “Turkish Republic of Northern Cyprus”

  recognized by the U.S. Government unnervingly admitted by the Defendant. During these years,

  and without rehashing the facts, the Defendant made banking transactions, hired lawyers, was

  listed as a speaker at University, wrote op-ed letters and submitted letters to the U.N., as matter

  of fact, even the newspapers contained the reference to the Washington DC “TRNC” website or

  its representative. All of these facts, let alone the information on banking, meetings, letters,

  taxes, loans, payments to and from the Washington DC office as it operated at a substantial cost

  that funds to pay for them, including, by and through, HSBC11, demonstrate the purposeful of the

  Defendant purposefully entered the District of Columbia to conduct business12 for over 20 years

  that would foresee it being haled into court there.


  E.                                                         In The Alternative, the Federal Long Arm Statute Provides Personal Jurisdiction
                                                             Pursuant to FRCP 4.

                                                             In some circumstances, Federal Rule of Civil Procedure 4(k)(2) eliminates the need to

  employ the forum state’s long-arm statute. See Mwani v. Osama bin Laden, 417 F.3d 1, 10 (D.C.
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
  11
    	  Additionally,	  since	  HSBC	  has	  not	  yet	  Answered	  or	  been	  served,	  which	  will	  be	  done	  shortly,	  it	  is	  premature	  and	  
  unfair	  to	  decide	  this	  motion	  against	  the	  Plaintiffs	  if	  the	  court	  was	  inclined	  to	  do	  so.	  	  Rather,	  jurisdictional	  discovery	  
  should	  be	  allowed	  to	  go	  forward	  immediately	  to	  allow	  for	  Plaintiff	  to	  respond	  after	  having	  the	  information	  clearly	  
  withheld	  by	  the	  Defendant	  including	  but	  not	  limited	  to	  banking	  statements,	  website	  content	  and	  a	  list	  of	  U.S.	  
  citizens	  or	  DC	  residents	  who	  sought	  the	  services	  of	  the	  “TRNC”	  in	  Washington	  DC,	  and/or	  who	  have	  purchased	  
  property	  through	  the	  TRNC	  in	  the	  north	  of	  Cyprus.	  
  12
    	  As	  the	  “TRNC”	  is	  not	  a	  government,	  the	  Defendant	  took	  a	  risk	  in	  entering	  the	  United	  States	  to	  what	  seems	  to	  be	  
  protect	  its	  interests	  namely	  the	  property	  that	  it	  allegedly	  rules	  over	  and	  sells	  the	  lands	  that	  belong	  to	  the	  Plaintiffs	  
  and	  the	  Class.	  	  The	  Defendant	  cannot	  be	  shielded	  from	  what	  it	  purposefully	  set	  out	  to	  do	  and	  now	  finds	  itself	  in	  a	  
  legal	  quagmire.	  	  	  


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  Cir. 2005). Should the court find that the DC long arm statute contacts requirement has not been

  satisfied, the federal long arm statute is designed to avoid the very injustice the so called

  ‘TRNC” seeks to impose on this courts jurisdiction and integrity by false testimony of what and

  who it is let alone what it is doing in the District of Columbia, unregistered as a business, does,

  not pay taxes, does not have a certificate of occupancy not recognized diplomatically or as a state

  or government.

         Under FED. R. CIV. P. 4(k)(2), a federal court can exercise personal jurisdiction over a

  defendant (1) for a claim arising under federal law, (2) where a summons has been served, (3) if

  the defendant is not subject to the jurisdiction of any single state court, (4) provided that the

  exercise of federal jurisdiction is consistent with the Constitution (and laws) of the United States.

         In the instant case, the claims arise under federal law (Lanham Act) and the summons

  was properly served. Whether the exercise of jurisdiction is consistent with the Constitution turns

  on whether a defendant has sufficient contacts with the nation as a whole to satisfy due process.

  See FED. R. CIV. P. 4(k) advisory committee's notes to 1993 amendments.

         The remaining question here is whether the “TRNC” is subject to the jurisdiction of the

  courts of general jurisdiction of any state." FED. R. CIV. P. 4(k)(2). Determining whether a

  defendant is subject to the jurisdiction of a court "of any state" presents no small problem. One

  could, of course, ponderously "traipse through the 50 states, asking whether each could entertain

  the suit." ISI Int'l, Inc. v. Borden Ladner Gervais LLP, 256 F.3d 548, 552 (7th Cir.2001).


         A defendant who wants to preclude use of Rule 4(k)(2) has only to name some other state

  in which the suit could proceed. Naming a more appropriate state would amount to a consent to

  personal jurisdiction there (personal jurisdiction, unlike federal subject-matter jurisdiction, is

  waivable). If, however, the defendant contends that he cannot be sued in the forum state and



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  refuses to identify any other where suit is possible, then the federal court is entitled to use Rule

  4(k)(2). The plaintiffs have amply made a prima facie showing that the so called “TRNC” has

  "`purposefully directed' [its] activities at residents" of the United States, Burger King, 471 U.S.

  at 472, (quoting Keeton, 465 U.S. at 774), and that this litigation results from injuries to the

  plaintiffs "that `arise out of or relate to' those activities," id. (quoting Helicopteros Nacionales,

  466 U.S. at 41). The “TRNC” therefore had "fair warning" that its activities would "subject it to

  the jurisdiction" of the United States. Id.


                                                             The fact that injured Cypriots13, not injured Americans, are the plaintiffs in this case does

  not deny the court personal jurisdiction over the defendant(s). See Calder v. Jones, 465 U.S. 783,

  788, (1984) ("The plaintiff's lack of `contacts' [with the forum] will not defeat otherwise proper

  jurisdiction."); Keeton, 465 U.S. at 780 ("[The] plaintiff's residence in the forum State is not a

  separate requirement, and lack of residence will not defeat jurisdiction established on the basis of

  the defendant's contacts.").


                                                             The Defendant’s decision to purposefully direct its so called government and laws, along

  with personnel, stationary, banking transactions, payroll, office space, and driver in the District

  and at the United States while also benefitting from bank transactions involving HSBC and the

  Plaintiffs properties, and the fact that the Plaintiffs' federal claims arose out of those activities,

  should suffice to cause the defendant(s) to "reasonably anticipate being haled into" an American

  court. See Mwani v. Osama bin Laden, 417 F.3d 1, 10 (D.C. Cir. 2005) citing Burger King, 471

  U.S. at 474,(quoting World-Wide Volkswagen, 444 U.S. at 297).

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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      	  Defendant	  raises	  an	  argument	  that	  alternative	  fora	  exist	  such	  as	  the	  European	  Court	  of	  Human	  Rights	  that	  has	  
  recently	  or	  to	  go	  and	  see	  what	  the	  victimizer	  “TRNC”	  would	  provide	  for	  the	  victim	  plaintiffs,	  which	  is	  almost	  as	  
  insulting	  to	  the	  integrity	  and	  powers	  of	  this	  court	  to	  allow	  its	  jurisdiction	  to	  be	  taken	  away	  by	  a	  non-­‐entity	  because	  
  it	  would	  like	  to	  bypass	  the	  rule	  of	  law	  yet	  again.	  	  


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         Despite the “TRNC” argument for alternative fora, a plaintiff's citizenship may affect

  whether the court has subject matter jurisdiction or the plaintiff has a cause of action but not

  where to litigate. Here, however, the plaintiffs have sued under the Alien Tort Claims Act, which

  the Supreme Court has held to supply both subject matter jurisdiction and a cause of action for a

  narrow set of claims brought by aliens and involving violation of the law of nations. See Sosa v.

  Alvarez-Machain, 542 U.S. 692, (2004).

         Where a defendant, like the so called “TRNC” has purposefully directed his activities at

  forum residents and seeks to defeat jurisdiction, he must present a compelling case that the

  presence of some other considerations would render jurisdiction unreasonable." See Mwani v.

  Osama bin Laden, 417 F.3d 1, 10 (D.C. Cir. 2005).

         Here, the defendant purposefully directed its activities at forum residents, the U.S.

  Government and others, located in the U.S. and the fact that the plaintiffs are Cypriots who were

  injured in the process is not a consideration that would render the assertion of American

  jurisdiction incompatible with substantial justice. Therefore, under FRCP 4(k)(2) this court has

  personal jurisdiction over this defendant. As an alternative, the Defendant may pick a proper

  forum of its choosing for this litigation, if this court finds the DC long arm statute is insufficient.




                                         CONCLUSION

         For the foregoing reasons, the Defendant’s Motion to Dismiss must be denied in its

  entirety and allow jurisdictional discovery to commence immediately.




  	     	  



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  Respectfully submitted,




         TSIMPEDES LAW FIRM                          Dated: May 5, 2010



  BY:    /s/ Athan T. Tsimpedes, Esq.
         Bar no. 452341
         1050 Connecticut Avenue, NW    .
         Suite 1000
         Washington, D.C. 20036
         Phone: 202-772-3159
         Fax: 202-449-3499
         Attorney for Plaintiffs	  




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